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                           THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Case No. 18-cv-00327-RM-STV

  ORSON JUDD,
  individually and on behalf of all others similarly situated,

         Plaintiffs,

  v.

  KEYPOINT GOVERNMENT SOLUTIONS, INC.,
  a Delaware corporation,

         Defendant.


                          JOINT MOTION FOR APPROVAL OF
                       FLSA COLLECTIVE ACTION SETTLEMENT



         Plaintiff Orson Judd (“Judd”), individually and on behalf of all others similarly situated,

  and Defendant KeyPoint Government Solutions, Inc., (“KeyPoint” and together with Judd, the

  “Parties”) have agreed, subject to Court approval, to resolve this wage and hour lawsuit on a

  collective-wide basis for monetary relief. The settlement satisfies the criteria for approval of a

  Fair Labor Standards Act (“FLSA”) collective action settlement because it resolves a bona fide

  dispute, is fair and equitable to all concerned, and contains a reasonable award of attorneys’ fees.

         The Parties respectfully request that the Court issue an order: (1) approving the settlement

  as set forth in the Settlement Agreement and Release of Claims (“Agreement”) attached as Exhibit

  1 to the declaration of Joshua Konecky submitted herewith (2) approving the proposed Settlement

  Notice (attached as Exhibit B to the Settlement Agreement) and directing its distribution, and

  subsequent distribution of the settlement proceeds in accordance with the Agreement; (3)

  approving the request for reasonable service awards to Plaintiffs Judd and Hettler; (4) approving



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  Judd’s request for attorneys’ fees, costs, and expenses; and (5) dismissing this lawsuit with

  prejudice.

  I.     BACKGROUND

         A.      Factual Allegations

         KeyPoint conducts security clearance background investigations and performs other

  services on behalf of the U.S. government. Judd and Hettler performed investigative services for

  KeyPoint and KeyPoint classified them (and those they claim are similarly situated to them) as

  independent contractors. See Compl. ¶ 10, ECF No. 1. Judd’s complaint (and Ms. Hettler’s

  arbitration demand) alleges that KeyPoint violated the FLSA by misclassifying Contract

  Investigators, including Judd and Hettler, as independent contractors and by failing to pay overtime

  wages. Id. ¶¶ 59-60. KeyPoint denies that it misclassified any employees as independent

  contractors, denies any liability to Judd, Hettler, or other opt-in Plaintiffs who subsequently joined

  the litigation, or any other investigator, for any overtime wages or other damages. KeyPoint further

  alleges that most of the Opt-In Plaintiffs (307 of 367), are the subject of a pending Motion to

  Compel Arbitration (ECF No. 182) and would otherwise likely be compelled to mandatory

  individual (non-collective) arbitration.

         B.      Overview of Litigation and Settlement Negotiations

         On March 10, 2017, Judd filed his complaint against KeyPoint, alleging a putative

  collective action under the FLSA, 29 U.S.C. § 201 et seq. on behalf of himself and other Contract

  Investigators. See generally, Compl.

         In December 2018, the Court conditionally certified a collective of Contract Investigators

  and, at the end of the notice period, Plaintiffs’ counsel filed 367 consents to join, 307 of whom

  KeyPoint contends are subject to binding arbitration. Declaration of Joshua Konecky at ¶¶ 39, 53.

  The parties agreed to participate in mediation for 48 plaintiffs who KeyPoint contends do not have


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  binding arbitration agreements or are not otherwise subject to KeyPoint’s pending Motion to

  Compel Arbitration. Id. at ¶ 66. This initial mediation took place on May 30, 2020 under the

  direction of experienced mediator Hunter Hughes, but did not culminate in a settlement. Id. at ¶

  69. On July 30, 2020, the Parties engaged in a second all-day virtual mediation session under the

  direction of Mediator Hughes regarding all those who filed consents to join, including those who

  KeyPoint contends are subject to binding arbitration. Id. While a settlement was not reached that

  day, the Parties’ continued their arms-length negotiations. Id. at ¶ 71. On August 18, 2020, the

  parties reached an agreement on $900,000 recovery for the 331 Opt-In Plaintiffs whose last day of

  service with KeyPoint was within the applicable statute of limitations. Id. at ¶ 73.1 The parties

  subsequently negotiated for recovery of attorneys’ fees and litigation expenses, as well as

  settlement administration costs. Id. On August 28, 2020, the parties reached an agreement on these

  matters - that KeyPoint would separately pay $600,000 to cover attorneys’ fees and litigation

  expenses incurred by Plaintiffs in this case, plus the settlement administration costs. Id. Also, on

  August 28, 2020, the Parties filed a Joint Status Report, advising the Court that they had reached

  an agreement to resolve this matter, and requesting a stay of existing case management deadlines

  until October 12, 2020. ECF No. 214. The Court granted that request the same day, on August 28,

  2020. ECF No. 215. On October 26, 2020, KeyPoint filed a motion to dismiss certain Opt-ins

  whose claims accrued outside the applicable statute of limitations described above [ECF 221], see



  1
    The statute of limitations for bringing overtime claims under the Fair Labor Standards Act is a
  minimum of two years from the last date the alleged employee worked for the defendant without
  receiving the required overtime. This two-year period can be extended to three years if the alleged
  employee demonstrates a “willful” violation. Additionally, the statute of limitations particular to
  this case was tolled for an additional 486 days because of delays associated with resolving
  KeyPoint’s motion to transfer, motion for reconsideration of the order conditionally certifying the
  collective, and disputes concerning the 216(b) notice. In total, the statute of limitations for each
  Opt-In Plaintiff, if Plaintiffs prove a willful violation of the FLSA, is 4 years and 121 days before
  the date on which that Opt-In Plaintiff submitted his or her consent to join.


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  note 1, supra, which Judd does not oppose. See Konecky Decl. at ¶ 79. The result is that all

  Plaintiffs will either be dismissed from this action because their claims are outside the applicable

  statute of limitations, or will be part of the Agreement to resolve their claims.

  II.    SETTLEMENT TERMS

         A.      Settlement Amount and Allocation

         Under the terms of the Settlement Agreement, Defendants have agreed to pay individual

  settlement payments (each an “Individual Settlement Payment”) and up to a maximum amount

  (the “Maximum Gross Settlement Amount”) to fully resolve this litigation. See Settlement

  Agreement at ¶ 19. Specifically, under the terms of the Settlement Agreement, KeyPoint will pay

  a non-reversionary settlement amount of $900,000 to the members of the Collective, plus an

  additional $600,000 for attorneys’ fees and costs. Additionally, KeyPoint will separately pay the

  costs of settlement administration. Id.

         Individual Settlement Payments for each Plaintiff will be calculated and apportioned from

  the gross settlement fund based on the number of workweeks each Plaintiff was engaged by

  Defendant during the statute of limitations period pursuant to the following formula:

         (a)     The Settlement Administrator will calculate Plaintiffs’ settlement pool
         amount by subtracting any service payments awarded by the Court from the Total
         Plaintiffs Settlement Amount, the result constituting the “Interim Settlement Pool”;

          (b)     The Settlement Administrator will determine the number of Adjusted
         Settlement Workweeks for each Plaintiff and all Plaintiffs in the aggregate by
         assigning the following values to each workweek: (i) a multiplier of three to any
         workweek belonging to a Plaintiff was an opt in plaintiff in the Smith action and
         who sat for deposition in the Smith Action; (ii) a multiplier of two to any workweek
         belonging to a Plaintiff who submitted substantive discovery responses (in addition
         to objections) to Defendants’ Interrogatories and Requests for Production while
         their claims were pending in District Court or who substantially completed the
         written arbitration survey circulated to Plaintiffs’ by Plaintiffs’ Counsel; and (iii )
         a multiplier of one to all other Workweeks. (The Plaintiffs in Categories (i), and
         (ii) are identified on Exhibits C-D respectively. To the extent a Plaintiff appears on
         more than one list, the higher of the multipliers applies to his or her workweeks).



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  See Settlement Agreement at ¶ 41.

         This formula is designed to reasonably reflect how active participation in the Litigation,

  including, by way of example, by responding to discovery or arbitration surveys, increased an Opt-

  In Plaintiff’s likelihood of success on his or her claims and, conversely, how those who did not

  participate had an increased risk of being subject to dismissal. See Konecky Decl. at ¶ 89. The

  formula also is designed to reflect the additional delay in recovery of those individuals who

  originally filed their consent to join forms in the previous Smith litigation and appeared for

  deposition in that case. Id. This allocation formula is not a material term of the Settlement. See

  Settlement Agreement at ¶ 42(b).

         Once all the Adjusted Settlement Workweeks are determined, the Settlement Agreement

  goes on to specify the following method to calculate the individual settlement shares:

         (c) The Settlement Administrator will calculate the total number of Adjusted
         Settlement Workweeks belonging to each Plaintiff during the Statute of Limitations
         Period, and the aggregate total number of Adjusted Settlement Workweeks worked
         by all Plaintiffs during the Statute of Limitations Period.

         (d) The Settlement Administrator will divide the Interim Settlement Pool by the
         aggregate total number of Adjusted Settlement Workweeks, resulting in the
         “Workweek Value.”

         (e) The Settlement Administrator will calculate each Plaintiff’s Individual
         Settlement Payment by multiplying that individual’s total number of Adjusted
         Settlement Workweeks by the Workweek Value. Notwithstanding the foregoing,
         each Plaintiff shall receive no less than one hundred dollars ($100).

         In exchange for their share of the settlement fund, Judd and all other potential Plaintiffs

  will agree to release their claims against KeyPoint. See Settlement Agreement at ¶ 41(c)-(e); see

  also Exhibit B to the Agreement. The Parties have submitted a Settlement Notice to inform

  Plaintiffs about the Agreement and the resolution of this matter. See Exhibit B to Settlement

  Agreement. The Parties agree that the Settlement Notice is informative, provides the necessary

  information about the lawsuit, the claims alleged, the release, and the process to follow to


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  participate. Opt-in Plaintiffs will receive their portion of the settlement funds after receiving

  notice of the settlement.

           B.      Service Awards to Plaintiffs Judd and Hettler

           Plaintiffs request that the Court approve service awards of $7,500 each for Mr. Judd and

  Ms. Hettler for the particular risks, time, and efforts they undertook to prosecute the in-court and

  arbitration aspects of this matter. Mr. Judd and Ms. Hettler devoted substantial time and effort

  conferring with counsel, reviewing pleadings and other documents, preparing sworn declarations,

  responding to written discovery, sitting for deposition, participating in settlement negotiations, and

  reviewing the proposed settlement agreement that, if approved by this Court, will bring substantial

  relief to the Collective. KeyPoint does not oppose the requested service awards, which combined

  represent just 1% of the Maximum Gross Settlement Amount and 1.6 % of the Plaintiff recovery

  amount. Both Mr. Judd and Ms. Hettler have submitted sworn declarations detailing their work

  and participation in this matter.

           C.      Attorneys’ Fees and Litigation Costs

           The Settlement Agreement provides for a reasonable payment of Plaintiffs’ attorneys’ fees,

  costs, and litigation expenses up to $600,000. The $600,000 for Plaintiffs’ attorneys’ fees and costs

  was negotiated and agreed to after the parties reached agreement on $900,000 Collective recovery

  for the Opt-In Plaintiffs.

           Plaintiffs are seeking a total attorneys’ fee award of $508,398.84 plus reimbursement of

  actual out-of-pocket costs of $91,601.16. As of October 21, 2020, a fee award of $508,398.84

  would result in a “negative” multiplier of approximately 0.66 of Plaintiffs’ Counsel’s lodestar

  using rates adjusted to the Denver market,2 after exercising billing judgment to winnow down the


  2
      As further discussed in the declaration of Joshua Konecky filed concurrently herewith, Plaintiffs’
      Counsel have adjusted their lodestar downward for this case, from their customary and court-


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  hours. Additionally, KeyPoint does not contest the amount Plaintiffs’ Counsel seeks in fees and

  expenses.

  III.   ARGUMENT

         A.      The Court Should Approve the Settlement

         The Parties seek approval of a settlement under section 216(b) of the FLSA, as such

  settlements may require court approval. As this Court has recognized, “[a]pproval should be

  granted when: (1) the FLSA settlement is reached as a result of bona fide dispute; (2) the proposed

  settlement is fair and equitable to all parties concerned; and (3) the proposed settlement contains a

  reasonable award of attorneys’ fees.” Hartley v. Time Warner NY Cable LLC, No. 13-CV-00158

  (RM-MJW), 2014 WL 4437282, at *1 (D. Colo. Sept. 9, 2014) (citing Lynn’s Food Stores, Inc. v.

  United States, 679 F.2d 1350, 1353 (11th Cir.1982); and Baker v. Vail Resorts Mgmt. Co., Case

  No. 13–CV–01649, 2014 WL 700096, at *1 (D. Colo. Feb. 24, 2014)). The settlement of this case

  meets all three of these requirements.

                 1.      There is a Bona Fide Dispute

         The Agreement resolves a bona fide dispute. To demonstrate a bona fide dispute,

         parties must present: (1) a description of the nature of the dispute; (2) a description
         of the employer’s business and the type of work performed by the employees; (3)
         the employer’s reasons for disputing the employee’s right to a minimum wage or
         overtime; (4) the employee’s justification for the disputed wages; and (5) if the
         parties dispute the computation of wages owed, each party’s estimate of the number
         of hours worked and the applicable wage.

  Hartley, 2014 WL 4437282, at *1.

         Judd claims that KeyPoint misclassified him and others as independent contractors instead

  of employees and failed to pay them overtime wages for working more than 40 hours per week.


    approved 2020 Northern California rates, to be within the prevailing market rates in Denver,
    Colorado for individuals with similar levels of qualifications, skill and experience who are doing
    comparable work as Plaintiffs’ counsel. See Konecky Decl. at ¶¶ 117-118, 134-141.


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  See Compl. ¶¶ 4, 10, 59-60. In this connection, Judd contends that the Investigators receive all

  case assignments directly from KeyPoint and are dependent on the individual tasks KeyPoint

  makes available for them to complete. Judd further contends that the Investigators are prohibited

  from subcontracting out or assigning work to anyone else to perform, cannot exercise managerial

  independence or judgment in ways that impact profit and loss, and that they must comply with

  detailed policies and procedures enforced by KeyPoint. See, e.g., [ECF 43 at 12-13]. Additionally,

  Judd contends that KeyPoint has been on notice of the legal dispute concerning its classification

  of Investigators as independent contractors since 2011, when the Internal Revenue Service (IRS)

  found in favor of another one of its Investigators on this very issue. Id. at 8-9.

         KeyPoint on the other hand disputes that it misclassified any employees (including Judd)

  as independent contractors, and it thus does not owe any overtime wages. KeyPoint contends that

  it did not control Judd’s schedule or supervise his work; that Judd controlled his own profits and

  losses, and provided his own equipment for investigations; and, in addition, that Judd applied his

  own special skills and experience to KeyPoint’s projects. In similar litigation against KeyPoint,

  the Court noted that the fact that KeyPoint classified some investigators as independent contractors

  “to meet unpredictable customer demands, maintaining a baseline of investigators in the field as

  employees and engaging others as independent contractors as needed when and where customer

  demand increases,” on its own does not justify a conclusion that a defendant consciously or

  recklessly ignored a risk that the practice violated the FLSA . Smith v. KeyPoint, Case No. 1:15-

  cv-00865-REB-KLM (D. Co.) (ECF No. 95) at p. 5. Thus, KeyPoint disputes that it violated FLSA

  in any respect, and asserts that, regardless, any violation was not willful, so no liquidated or

  punitive damages could be available to Judd or the collective members.

         If Judd’s allegations were proven correct, KeyPoint would be faced with the prospect of a




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  monetary judgment in favor of Judd, as well as an obligation to pay litigation fees and costs

  incurred by him. If KeyPoint’s arguments were proven correct, then Judd would recover no money,

  and may be required to pay Defendant’s costs. The parties on both sides were represented by

  competent counsel throughout this litigation.

          Further, many of the Opt-In Plaintiffs may be subject to mandatory individual (non-

  collective) arbitration, which could result in years of arbitration to secure individual awards for

  each member of the collective. There is thus a bona fide dispute between the Parties under the

  FLSA.

                 2.      The Proposed Settlement is Fair and Reasonable

          The Agreement is fair and reasonable. “To be fair and reasonable, an FLSA settlement

  must provide adequate compensation to the employee[] and must not frustrate the FLSA policy

  rationales.” Hartley, 2014 WL 4437282, at *2 (citing Baker, 2014 WL 700096 at *2). Courts

  consider four factors to determine whether a settlement is fair and reasonable:

          (1) whether the parties fairly and honestly negotiated the settlement; (2) whether
          serious questions of law and fact exist which place the ultimate outcome of the
          litigation in doubt; (3) whether the value of an immediate recovery outweighs the
          mere possibility of future relief after protracted litigation; and (4) the judgment of
          the parties that the settlement is fair and reasonable.

  Id.

                         a. The Parties Fairly and Honestly Negotiated the Settlement.

          The Settlement was reached after hard-fought adversarial litigation over three-and-a-half

  years, including extensive investigation, discovery, and motion practice. The proposed Settlement

  was formally negotiated following two arms-length mediation sessions with a respected wage and

  hour mediator, Hunter Hughes. The use of a mediator weighs against a finding of collusion. See,

  e.g., D’Amato v. Deutsche Bank, 236 F.3d 78, 85 (2d Cir. 2001) (noting that a “mediator’s

  involvement in pre-certification settlement negotiations helps to ensure that the proceedings were


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   free of collusion and undue pressure”); In re Molycorp, Inc. Sec. Litig., No. 12-CV-00292

   (RM/KMT), 2017 WL 4333997, at *4 (D. Colo. Feb. 15, 2017) (collecting cases and finding that

   “Utilization of an experienced mediator during the settlement negotiations supports a finding that

   the settlement is reasonable, was reached without collusion and should therefore be approved”).

          Moreover, as further discussed in the declaration of Joshua Konecky, the $900,000

   recovery for the Plaintiffs represents an excellent recovery in light of the estimated number of

   overtime hours the Opt-In Plaintiffs worked. Konecky Decl. at ¶¶ 100-107.

          In sum, there was no fraud or collusion between the Parties in reaching the Settlement.

   Rather, the Settlement is the product of an arms-length negotiation by experienced counsel and

   has the effect of (1) providing significant relief to Plaintiffs and (2) eliminating the inherent risks

   both sides would bear if this litigation continued to a resolution on the merits. Thus, the Court

   should find that the parties fairly and honestly negotiated the Settlement.

                          b. Serious Questions of Law and Fact Exist and the Value of Immediate
                             Recovery Outweighs the Mere Possibility of Future Relief

          Moreover, there exist disputed questions of law and fact that render ultimate success, for

   either side, uncertain. Both Parties recognize that KeyPoint classified Contract Investigators as

   independent contractors, and that properly classified independent contractors are not due overtime

   wages. The Parties, however, dispute whether the classification was appropriate. KeyPoint has

   also asserted that in the event a violation of the FLSA is found, it acted at all times in good faith,

   thereby negating the application of liquidated damages. Further, many of the collective members

   have allegedly signed arbitration agreements that may prevent them from participating in this

   lawsuit and could force them to bring their claims individually in the arbitral forum. The Settlement

   Agreement, however, also provides for their recovery irrespective of the arbitration agreements.

          Although the Parties both believe their cases are strong, they are subject to the considerable



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   risk that is inherent in litigation. “The presence of such doubt augurs in favor of settlement because

   settlement creates a certainty of some recovery, and eliminates doubt, meaning the possibility no

   recover after long and expensive litigation.” In re Qwest Comms. Int’l, Inc. Sec. Litig., 625 F.

   Supp. 2d 1133, 1138 (D. Colo. 2009). Here, a trial on the merits would involve significant risk as

   to both liability and damages. Litigating the conditionally certified collective action in Court, Judd

   and the Opt-In Plaintiffs would have to establish that they were improperly classified as

   independent contractors, and further that they worked over forty hours in given workweeks.

   Meanwhile, Hettler and whatever other Opt-In Plaintiffs may be compelled to individual

   arbitrations would have to make the same showing. Whether in Court or in arbitration, willfulness

   would need to be proved to obtain additional, liquidated damages. The Parties’ counsel are

   experienced and realistic and understand that the resolution of liability issues, the outcome of the

   trial, and the inevitable appeals process are inherently uncertain in terms of outcome and duration.

   The Agreement alleviates these uncertainties and provides for immediate (and meaningful)

   recovery to the Collective instead of the mere possibility of future relief after protracted litigation.

   It likewise alleviates uncertainties for KeyPoint, as damages will be ascertained and agreed to

   without a trial.

                            c. The Parties Agree That the Settlement is Fair and Reasonable.

           The endorsement of a proposed FLSA settlement by both parties is a “factor that weighs in

   favor of approval” because “counsel for each side possess[es] the unique ability to assess the

   potential risks and rewards of litigation.” Quintanilla v. A&R Demolition, Inc., No. CIV.A. H-04-

   1965, 2008 WL 9410399, at *5 (S.D. Tex. May 7, 2008). Here, both Parties believe the proposed

   Agreement is a fair and reasonable resolution of the claims.

           B.         The Service Awards Requested are Reasonable

           Service awards are common in class and collective action cases. Slaughter v. Sykes Enters.,


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   Case No. 17-cv-02038-KLM, 2019 U.S. Dist. LEXIS 21767, at *21 (D. Colo. Feb. 11, 2019);

   Geiger v. Z-Ultimate Self Def. Studios LLC, Case No. 14-cv-00240-REB-NYW, 2017 U.S. Dist.

   LEXIS 232669, at *19 (D. Colo. July 6, 2017). The purpose of such awards is “to compensate

   class representatives for work done on behalf of the class [and] make up for financial or

   reputational risk undertaken in bringing the action...” Rodriguez v. West Publ’g Corp., 563 F.3d

   948, 958-59 (9th Cir. 2009).

           Moreover, the $7,500 sought for each of Mr. Judd and Ms. Hettler, here, is commensurate

   with incentive fees awarded in other cases in this district, under analogous circumstances. See, e.g.

   Ostrander v. Customer Eng'g Servs., LLC, 2019 U.S. Dist. LEXIS 27645, at *13 (D. Colo. Feb.

   20, 2019) (finding $7,500 proposed service award reasonable where the named plaintiff responded

   to discovery, sat for deposition, and participated in mediation); Pliego v. Los Arcos Mexican

   Restaurants, Inc., 313 F.R.D. 117, 131 (D. Colo. 2016) (finding $7,500 proposed service award

   reasonable where the named plaintiff assisted counsel in reviewing documents produced by

   defendants and participated in settlement conference); Whittington v. Taco Bell of Am., Inc., Case

   No. 10-cv-01884-KMT-MEH, 2013 U.S. Dist. LEXIS 161665, at *23 (D. Colo. Nov. 13, 2013)

   (finding $7,500 service award reasonable); Shaw v. Interthinx, 2015 U.S. Dist. LEXIS 52783, 2015

   WL 1867861, at *9 (D. Colo. Aug. 22, 2015) (approving $10,000 incentive awards to each of the

   five named plaintiffs).

           In evaluating the appropriateness of service awards, courts consider the following relevant

   factors: (1) the actions that the class representative took to protect the interests of the class; (2) the

   degree to which the class has benefitted from those actions; and (3) the amount of time and effort

   the class representative expended in pursuing the litigation. Geiger v. Z-Ultimate Self Def. Studios

   LLC, Case No. 14-cv-00240-REB-NYW, 2017 U.S. Dist. LEXIS 232669, at *19 (D. Colo. July 6,




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   2017). As discussed below, application of these factors demonstrates that the service awards

   requested for Mr. Judd and Ms. Hettler are warranted here.

                  1.         Mr. Judd and Ms. Hettler devoted substantial time and effort to this
                             litigation

          A service award is appropriate where the named plaintiff remained fully involved and

   expended considerable time and energy during the course of the litigation. Ostrander v. Customer

   Eng'g Servs., LLC, Case No. 15-cv-01476-PAB-MEH, 2019 U.S. Dist. LEXIS 27645, at *12 (D.

   Colo. Feb. 20, 2019); Pliego v. Los Arcos Mexican Rests., Inc., 313 F.R.D. 117, 131 (D. Colo.

   2016). ). Such involvement includes participating in the discovery process, including: sitting for

   depositions and responding to interrogatories and requests for production; participating in the

   preparation of pleadings filed on behalf of the class; soliciting updates on the status of the

   litigation; and participating in settlement decisions, among other tasks. See id.; see also Shaw v.

   Interthinx, Inc., Case No. 13-cv-01229-REB-NYW, 2015 U.S. Dist. LEXIS 52783, at *25 (D.

   Colo. Apr. 21, 2015).

          Here, Mr. Judd and Ms. Hettler each expended substantial time assisting in the prosecution

   of the case. Judd Decl. at ¶¶ 11-19; Hettler Decl. at ¶¶ 4-15. They each provided valuable

   information to counsel, assisted in the drafting of pleadings, met in person with counsel, traveled

   and sat for deposition. Id. For instance, Mr. Judd provided information during lengthy interviews,

   responded to written discovery, and assisted in preparing damages calculations for use in

   evaluating KeyPoint’s exposure. Judd Decl. at ¶¶ 15, 20. He also prepared for and sat for his

   deposition, which required him to travel several hours from his home to Phoenix, Arizona. Id. at

   ¶¶ 16-18. He further assisted in preparing and evaluating the case for mediation, and in the

   settlement process itself, remaining available to counsel to answer any questions that may come

   up. Judd Decl. at ¶ 19.



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          Similarly, Ms. Hettler provided information during lengthy interviews, responded to

   extensive written discovery, and produced hundreds of pages of documents. Hettler Decl. at ¶¶ 9,

   11. Ms. Hettler travelled from Dayton to Columbus, Ohio to prepare for and sit for her deposition,

   and further provided valuable information to counsel for use in taking the deposition of KeyPoint’s

   corporate witness on the arbitration opt-out. Id. at ¶ 10.

          Both Mr. Judd and Ms. Hettler maintained close contact with Counsel for the duration of

   their involvement with the case. Judd Decl. at ¶¶ 14-19; Hettler Decl. at ¶¶ 7-11. The involvement

   and dedication of both Mr. Judd and Ms. Hettler has been a fundamental and essential element of

   this case. Konecky Decl. at ¶¶ 169-170. There would be no case or settlement without the

   contributions of each of them.

                  2.      Mr. Judd’s and Ms. Hettler’s efforts resulted in substantial benefits to
                          the Collective

          In addition to weighing the amount of time and effort expended by the named plaintiffs,

   courts also consider the degree to which their efforts benefitted the class. Geiger v. Z-Ultimate

   Self Def. Studios LLC, Case No. 14-cv-00240-REB-NYW, 2017 U.S. Dist. LEXIS 232669, at

   *19 (D. Colo. July 6, 2017).

          Here, Mr. Judd’s numerous contributions to this litigation will significantly benefit the

   Collective. First, the case would not have been filed but for Mr. Judd’s willingness to step forward

   after the earlier Smith case was dismissed. Second, Mr. Judd put his personal interests aside and

   committed himself to representing the interests of the Collective as a whole, rather than

   maximizing just his own personal recovery or asserting other individual claims that were beyond

   the scope of the collective action complaint. Third, Mr. Judd substantially contributed to several

   important victories that significantly improved Plaintiffs’ position in the litigation and settlement

   discussions. For example, Mr. Judd worked closely with Counsel to respond to KeyPoint’s early



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   motion to dismiss the case. Judd Decl. at ¶ 13. As another example, Mr. Judd devoted substantial

   time to reconstructing his hours worked for KeyPoint to provide an estimate of unpaid overtime

   used to calculate KeyPoint’s exposure for mediation. Id. at ¶¶ 15, 20. These are just a few

   examples of Mr. Judd’s important contributions, without which the excellent result achieved here

   would not have been possible.

          Ms. Hettler also made numerous contributions to this litigation that will significantly

   benefit the Collective. Rather than being deterred after having her claims compelled to arbitration,

   Ms. Hettler pressed forward so that her case could assist as a marker for the other individuals who

   might be compelled to arbitration, and to lend support for the potentially hundreds of other

   arbitrations that might follow. Id. at ¶ 7. In addition to responding to substantial written discovery

   and appearing for deposition, Ms. Hettler provided valuable information for use in settlement

   negotiations, which facilitated a settlement that will provide substantial recovery to the Collective.

   Hettler Decl. at ¶ 15. Additionally, Ms. Hettler was a current employee of KeyPoint when she

   stepped forward, prior to conditional certification, to join Mr. Judd’s challenge to KeyPoint’s

   independent contractor designation. Id. at ¶ 17. Stepping forward in this manner came with the

   significant risk of exposing Ms. Hettler in a public forum to her current employer as someone

   willing to lead a major legal challenge to their policies and practices. Id. Ms. Hettler was also

   aware that KeyPoint may be able to recover costs from her if it prevailed on Ms. Hettler’s claims.

   Id. These risks, however, did not stop Ms. Hettler from stepping forward and making substantial

   sacrifices to bring about this settlement for the Collective. Id.

                  3.      The requested service awards promote the public policies underlying
                          the Fair Labor Standards Act

          Approving the requested service awards will promote important public policies underlying

   Plaintiffs’ wage-and-hour claims. Plaintiffs’ claims are brought under the FLSA, a remedial



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   statute intended to protect the rights of workers. See Tennessee Coal Iron & R. Co., v. Muscoda

   Local No. 123, 321 U.S. 590, 597 (1944) (abrogated on other grounds). Furthermore, the FLSA’s

   strong public policy in favor of strict enforcement of minimum wage and overtime laws is well-

   established and fundamental to the FLSA’s protective purpose. See Loeza v. JP Morgan Chase

   Bank NA, 2014 WL 4912730, at *3 (S.D. Cal. Sept. 30, 2014) (“an employer who knows or should

   have known that an employee is or was working overtime is obligated to pay overtime [] even if

   the employee does not make a claim for the overtime compensation.”) (quoting Lindow v. United

   States, 738 F.2d 1057, 1060–61 (9th Cir.1984)).

          Here, both Mr. Judd and Ms. Hettler worked hard to further the important public policies

   underlying the FLSA. They acted on their convictions by devoting considerable time to this case,

   and by making personal sacrifices to see it through to an excellent result that furthers the important

   public policies of the FLSA.

          C.      The Request for Attorneys’ Fees and Costs are Reasonable

          Plaintiffs are seeking a total attorneys’ fee award of $508,398.84 plus reimbursement of

   actual out-of-pocket costs of $91,601.16 to compensate them for their extensive work, over more

   than three and a half years, in achieving to resolve the disputed misclassification and overtime

   claims made under the FLSA by the investigators who opted-in to this case. None of the fees or

   costs that Plaintiffs seek will come out of the $900,000, non-reversionary payment to the

   Collective. Rather, as noted above, KeyPoint has agreed to pay $600,000 for Plaintiffs’ attorneys’

   fees and costs, which was separately negotiated after an agreement was reached as to the Plaintiff

   recovery.

          The fees sought here are reasonable compensation for the work performed, particularly

   given the strong result achieved for the Collective, the risk of nonpayment, and the skill and effort

   required to prosecute the case over more than three and a half years of litigation. The out-of-


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   pocket costs are also documented and reasonably incurred. For these reasons and as further

   discussed below, the parties respectfully request that the Court approve the settlement, including

   Plaintiffs’ request for attorneys’ fees and costs.

                  1.      Plaintiffs are entitled to attorneys’ fees under the FLSA

          The FLSA permits any judgment to include an award of reasonable attorney's fees and the

   costs of the action. 29 U.S.C. § 216(b) (“The court in such action shall, in addition to any judgment

   awarded to the plaintiff or plaintiffs, allow a reasonable attorney's fee to be paid by the defendant,

   and costs of the action.”). This serves the FLSA’s purpose of encouraging private counsel to

   represent employees seeking unpaid wages through collective action. Helton v. Factor 5, Inc.,

   2015 WL 428576, at *4 (N.D. Cal. 2015) Clover v. Shiva Realty of Mulberry, Inc., 2011 WL

   1832581 at *4 (S.D.N.Y. 2011). Plaintiffs here can be considered prevailing parties entitled to

   recover attorneys’ fees and costs because they secured a judicially enforceable settlement that

   achieves a benefit sought by the suit. Hensley v. Eckerhart, 461 U.S. 424, 429, 433 (1983)

   superseded by statute on other grounds.

                  2.      The Requested Fee is Reasonable Under the Johnson Factors

          There is a general preference that parties reach an agreement regarding the fee award.

   Bracamontes v. Bimbo Bakeries USA, Inc., Case No. 15-cv-02324-RBJ-NYW, 2018 U.S. Dist.

   LEXIS 224097, at *9 (D. Colo. Oct. 10, 2018); Hensley v. Eckerhart, 461 U.S. 424, 437, 103 S.

   Ct. 1933, 76 L. Ed. 2d 40 (1983) (“A request for attorney’s fees should not result in a second major

   litigation. Ideally, of course, litigants will settle the amount of a fee.”). However, the court must

   nonetheless conduct an independent examination of whether the fees are reasonable. See Silva v.

   Miller, 307 F. App'x 349, 351-52 (11th Cir. 2009) (holding that contingency contract between

   counsel and plaintiff did not abrogate court's duty to review the reasonableness of legal fees in an

   FLSA settlement).


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          In evaluating the reasonableness of a fee request, courts in the Tenth Circuit look at the

   following twelve factors set out in Johnson v. Georgia Highway Express, Inc., 488 F.2d 714 (5th

   Cir. 1974): (1) the time and labor required; (2) the novelty and difficulty of the questions presented

   by the case; (3) the skill requisite to perform the legal service properly; (4) the preclusion of other

   employment by the attorneys due to acceptance of the case; (5) the customary fee; (6) whether the

   fee is fixed or contingent; (7) any time limitations imposed by the client or the circumstances; (8)

   the amount involved and the results obtained; (9) the experience, reputation, and ability of the

   attorneys; (10) the “undesirability” of the case; (11) the nature and length of the professional

   relationship with the client; and (12) awards in similar cases. Brown v. Phillips Petroleum Co.,

   838 F.2d 451, 454-55 (10th Cir. 1988).

          Here, the Agreement provides for separate payment of up to $600,000 for Plaintiffs’

   attorneys’ fees and costs, from which Plaintiffs are seeking attorneys’ fees of $508,398.84 and

   reimbursement of actual out-of-pocket costs of $91,601.16. Konecky Decl. at ¶¶ 118-119. The

   $600,000 amount for fees and costs was negotiated after the parties reached an agreement on the

   $900,000 recovery for the Opt-In Plaintiffs. As discussed below, this amount is reasonable under

   the Johnson factors.

                          a. Johnson Factors (2), (3), (6), (9), & (10): the novelty and difficulty of
                             the questions presented; the contingent nature of the fee, the skill,
                             experience, reputation, and ability of the attorneys and the
                             “undesirability” of the case.

          Plaintiffs’ Counsel have been the only counsel to represent the Collective in this matter

   and have borne the entire risk and costs of litigation for over three and a half years purely on a

   contingency basis. Konecky Decl. at ¶¶ 150-160. Between January 2017, when Plaintiffs’ Counsel

   began preparing the complaint in this matter, and October 21, 2020, Plaintiffs’ Counsel spent

   approximately 2,296.51 hours investigating, analyzing, researching, litigating, and negotiating a



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   favorable resolution of this case, and have incurred $91,601.16 in necessary litigation expenses.

   Id. at ¶¶ 119, 143. (This does not include any time spent in the earlier Smith action. Id. at ¶ 109.)

           Plaintiffs’ Counsel bore the substantial risk of an uncertain outcome in agreeing to prosecute

   this collective action case on a contingency fee basis, as well as the difficulties and delay inherent in

   such litigation. Konecky Decl. at ¶¶ 150-160. Aside from the challenges of marshalling class wide

   evidence on the misclassification issue, Plaintiffs’ Counsel faced the additional hurdle of

   potentially needing to pursue 307 costly, individual arbitrations. Id. at ¶ 151. Indeed, soon after

   Plaintiffs achieved conditional certification of their claims, KeyPoint sought to move the vast

   majority of the Collective to individual arbitration based on arbitration agreements KeyPoint rolled

   out during the earlier Smith litigation. Id. at ¶¶ 151-152. While this formidable challenge may have

   compelled many other attorneys to settle early or even dissuaded them from bringing the case

   altogether, Plaintiffs’ Counsel here continued to press the important misclassification and overtime

   claims of the Collective.

          Moreover, Plaintiffs’ Counsel are among the leading employment and class action attorneys

   in California and nationwide. See Konecky Decl. at ¶¶ 121, Exhs. 4-5. This case required

   experienced and competent lawyers and expertise in the issues presented herein. See Id. at ¶¶ 115,

   121-132, 144. To obtain such an attorney on the free market, a client must pay the market rate. Id.

          Collective actions are complex and involve significant risk. The challenges in this case

   included, among other things: a heavily contested conditional certification motion resulting in both

   an appeal and petition for writ by KeyPoint to the Tenth Circuit; the need to respond to extensive

   individualized discovery issued by KeyPoint; the need to implement an individualized outreach

   campaign to prepare for hundreds of individual arbitrations; and related motion practice seeking

   to require KeyPoint to pay for the arbitrations. Id. at ¶¶ 10, 153-158.




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          Plaintiffs’ victories at the heavily contested conditional certification stage and in the

   lengthy settlement negotiations, bespeak the particular skill and experience of Plaintiffs’ Counsel,

   as discussed further in the declaration of Joshua Konecky filed herewith. See Konecky Decl. at ¶

   158. Plaintiffs’ Counsel’s skill in prosecuting and resolving this case also is evidenced by the

   terms of the settlement ultimately achieved, discussed further below.

                          b. Johnson Factors (8): the amount involved and results obtained.

          The $900,000 Plaintiff recovery amount will bring substantial relief to the 331-person

   Collective. As discussed in the Konecky Declaration, the recoveries are substantial considering

   the damages estimates Plaintiffs could reasonably make as to the quantity of unpaid overtime hours

   worked by the collective as a whole, based on the discovery responses and deposition testimony

   the Investigators provided, and data produced by KeyPoint. See Konecky Decl. at ¶¶ 100-107.

   The evidence considered shows that the settlement recovery here may even exceed the amount of

   unpaid overtime that could be proved for the 331 Opt-In Plaintiffs if they prevailed on their claims

   at trial. Id. The recovery also compares very favorably with average recoveries in other wage-

   and-hour settlements. See, e.g., Bower v. Cycle Gear, Inc, No. 14-cv-02712-HSG, 2016 U.S. Dist.

   LEXIS 112455, at *17 (N.D. Cal. Aug. 23, 2016) (reasoning that “the results obtained for the Class

   Members were very favorable” where the average recovery for the FLSA overtime claim subclass

   was $183.70); Pierce v. Rosetta Stone, Ltd., No. C 11-01283, 2013 U.S. Dist. LEXIS 138921,

   (N.D. Cal. Sept. 26, 2013) (approving settlement of a misclassification case that resulted in an

   average recovery for FLSA class members of $1,778.57); In re Am. Family Mut. Ins. Co. Overtime

   Pay Lit., Case No. 06-cv-17430, 2010 WL 9593848 (D. Colo. Oct. 6, 2010) (settlement providing

   average award of approximately $1,250 per Collective action member), approved at 2010 U.S.

   Dist. LEXIS 145788, 2010 WL 9593857; Salinas v. United States Xpress Enters., Inc., No. 1:13-

   cv-00245-TRM-SKL, 2018 U.S. Dist. LEXIS 50800, at *14-15 (E.D. Tenn. Mar. 8, 2018)


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   (approving FLSA settlement “that will provide each opt-in Plaintiffs approximately $250 (after

   fees/costs/administrative expenses) for releasing these claims.”).

           Furthermore, the use of a three year statute of limitations (rather than two years) as a basis

   for the settlement figure makes this a particularly strong result, given that KeyPoint prevailed on

   summary judgment in the earlier Smith case where the Court held that the claims of Mr. Smith fell

   outside the statute of limitations because Mr. Smith did not raise a triable issue of fact that

   KeyPoint’s alleged violation of the FLSA was willful to invoke the three-year limitations period

   29 U.S.C. § 255(a). See Smith, [ECF 95] at 9. While Plaintiffs were confident that the previous

   IRS finding against KeyPoint and other evidence would be sufficient to show willfulness here, it

   still remained a hotly contested issue. Therefore, achieving a settlement that is substantial under

   even the three-year limitations period (plus additional tolling), further indicates the strength of the

   results obtained.

                          c. Johnson Factors (1) & (4): Time and labor expended and preclusion
                             of other work.

           As further discussed in the declaration of Joshua Konecky at ¶¶ 11-74, 144, Plaintiffs’

   Counsel undertook significant work to prosecute this case. This included investigations; drafting

   of pleadings; legal research on numerous complex issues; over a hundred fact-intensive interviews

   of the Opt-in Plaintiffs, lengthy written individualized discovery; depositions; meet and confers to

   resolve multiple discovery disputes; motion practice, appeals, the preparation and filing of a

   demand for 298 individual arbitrations and lengthy settlement negotiations. See generally Konecky

   Decl.

           For example, responding to KeyPoint’s extensive discovery and motion practice was an

   immense drain on Plaintiffs’ Counsel’s firm resources.           Indeed, responding to KeyPoint’s

   individualized discovery requests to the Collective required the assistance of numerous individuals



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   from the firm who had not previously worked on the case. In addition, the extensive motion

   practice, successive challenges to Magistrate Judge Varholak’s decisions and appeals throughout

   the case at times dominated Counsel’s practice, taking up the vast majority hours billed by the lead

   attorneys on the case during many weeks. This distracted Counsel from other pending matters and

   prevented them from taking on additional meritorious cases. Konecky Decl. at ¶ 150.

          After exercising billing judgment and removing all billing entries by individuals who

   recorded fewer than 10 hours on the case, as of October 21, 2020, Plaintiffs’ Counsel has invested

   approximately 2,296.51 hours of work into this case, for a total lodestar of approximately

   $770,050.00 using rates adjusted to the Denver market. See Konecky Decl. at ¶ 117, 143. A

   breakdown of the hours worked and corresponding lodestar on a timekeeper by timekeeper basis

   is present in the Konecky declaration. As the declaration makes clear, the time reported was

   devoted to necessary and worthwhile tasks. See id. at ¶¶ 144-149. Additionally, tasks were

   delegated to associate attorneys or paralegals when reasonable. Id. at ¶ 149.

                  3.      Plaintiffs’ requested cost reimbursements are reasonable

          Plaintiffs are entitled to reimbursement by KeyPoint of their out-of-pocket expenses

   incurred in this litigation because, as demonstrated above, they can be considered prevailing parties

   under Section 216(b) of the FLSA. Pursuant to the FLSA, when judgment is entered in a plaintiff’s

   favor, the plaintiff may recover a reasonable attorney’s fee as well as the costs of the action. See

   29 U.S.C. § 216(b); Fed. R. Civ. P. 54(d)(1) (“Costs Other Than Attorney’s Fees”); Fed. R. Civ.

   P. 54(d)(2)(A) (“A claim for attorney’s fees and related nontaxable expenses….”) (emphasis

   added)). Even though not normally taxable as costs, out-of-pocket expenses incurred by an

   attorney which would normally be charged to a fee-paying client are recoverable as attorneys’ fees.

   Chalmers, 796 F.2d at 1216 n.7; Snell v. Reno Hilton Resort, 930 F. Supp. 1428, 1434 (D. Nev.

   1996); Morales v. Farmland Foods, Inc., 2013 WL 1704722, at *8 (D. Neb. Apr. 18, 2013).


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   “Expenses such as reimbursement for travel, meals, lodging, photocopying, long-distance

   telephone calls, computer legal research, postage, courier service, mediation, exhibits, documents

   scanning, and visual equipment are typically recoverable [in FLSA actions].” Morales, 2013 WL

   1704722, at *7.

          Here, as set forth in the accompanying Konecky Declaration, Plaintiffs’ reimbursable out-

   of-pocket expenses include the following: (1) travel expenses; (2) document production expenses

   (e.g., ESI hosting, scanning, bates numbering, OCR, etc.); (3) deposition fees and transcripts; (4)

   postage; (5) filing and miscellaneous fees; (6) copying and printing; (7) expert fees; (8) delivery

   and freight; and (9) substantial fees for administering the original FLSA notice. The total

   reimbursable costs incurred by Plaintiffs’ Counsel in this case amount to $91,601.16. Konecky

   Decl. at ¶¶ 163-168, Exh. 3 (item-by-item listing of costs). All of the expenses set forth above

   were reasonable, were necessary to the prosecution of the case, and are customarily billed to fee-

   paying clients.

   IV.    CONCLUSION

          For the foregoing reasons, the Parties respectfully request that the Court issue an order (1)

   approving the settlement as set forth in Confidential Settlement Agreement and Release of Claims

   (“Agreement”); (2) approving the proposed Settlement Notice (attached as Exhibit B to the

   Agreement) and directing its distribution, and subsequent distribution of the settlement proceeds

   in accordance with the Agreement; (3) approving Judd’s request for reasonable service awards;

   (4) approving Judd’s request for attorneys’ fees, costs, and expenses; and (5) dismissing this

   lawsuit with prejudice.




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    Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

               I hereby certify that on this 26th day of October, 2020, a true and correct copy of the

   foregoing JOINT MOTION FOR FLSA COLLECTIVE ACTION SETTLEMENT was filed

   and served via CM/ECF on the following:

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